                                                                                                                                                 Page No:      1
                                                                             FORM 1
                                               INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                ASSET CASES
Case No.:                    18-52031-MAR                                                          Trustee Name:                              Douglas S. Ellmann
Case Name:                   PICKERING, CHRYSTAL A.                                                Date Filed (f) or Converted (c):           08/30/2018 (f)
For the Period Ending:       10/19/2018                                                            §341(a) Meeting Date:                      10/10/2018
                                                                                                   Claims Bar Date:

                         1                                  2                     3                         4                         5                        6

                 Asset Description                      Petition/         Estimated Net Value            Property               Sales/Funds             Asset Fully
                  (Scheduled and                      Unscheduled        (Value Determined by            Abandoned             Received by the       Administered (FA) /
             Unscheduled (u) Property)                   Value                  Trustee,           OA =§ 554(a) abandon.           Estate              Gross Value of
                                                                        Less Liens, Exemptions,                                                       Remaining Assets
                                                                           and Other Costs)

 Ref. #
1       Manufactured or mobile home                      $32,000.00                        $0.00                                            $0.00                        FA
        6655 Jackson Rd., Unit 179
        Ann Arbor, MI - 48103-0000
        Washtenaw
2       Single-family home 22129                           Unknown                         $0.00                                            $0.00                        FA
        Hoytville Deshler, OH -
        43516-0000 Wood
3       Duplex or multi-unit building                      Unknown                         $0.00                                            $0.00                        FA
        204 North Lind St. Deshler,
        OH - 43516-0000 Henry
4       2015 Jeep Cherokee mileage:                      $12,685.00                        $0.00                                            $0.00                        FA
        80,000
5       2009 Dodge Caravan                                $1,375.00                        $0.00                                            $0.00                        FA
        Sta-Wagon mileage: 170,000
        Location: 6655 Jackson Rd.,
        Unit 179, Ann Arbor MI 48103
6       Appliances, furniture,                              $750.00                        $0.00                                            $0.00                        FA
        kitchenware, linens, clothing,
        wedding rings, miscellaneous.
        No item worth greater than
        $600. Location: 6655 Jackson
        Road, Ann Arbor MI 48105
7       Television, stereo, DVD,                            $800.00                      $400.00                                            $0.00                        FA
        personal computer and related
        equipment. No single item
        worth greater than $600.
        Location: 6655 Jackson Road,
        Ann Arbor MI 48105
8       Misc. used clothing                                 $150.00                      $150.00                                            $0.00                        FA
9       Checking Huntington Bank,                               $0.22                      $0.22                                            $0.00                        FA
        checking acct. # 2123
10      Checking Huntington Bank                                $0.00                      $0.00                                            $0.00                        FA
        checking acct. #: 3945
11      403(b) University of Michigan                     $3,981.00                        $0.00                                            $0.00                        FA
        Retirement 403(b) Plan
12      possible tax refund                     (u)             $0.00                  $1,000.00                                            $0.00                  $1,000.00


TOTALS (Excluding unknown value)                                                                                                          Gross Value of Remaining Assets
                                                         $51,741.22                    $1,550.22                                            $0.00              $1,000.00




     Major Activities affecting case closing:
      10/19/2018     Trustee is investigating possible tax refund


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                                                                     FORM 1
                                            INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                             ASSET CASES
Case No.:                    18-52031-MAR                                                 Trustee Name:                             Douglas S. Ellmann
Case Name:                   PICKERING, CHRYSTAL A.                                       Date Filed (f) or Converted (c):          08/30/2018 (f)
For the Period Ending:       10/19/2018                                                   §341(a) Meeting Date:                     10/10/2018
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                                                                Less Liens, Exemptions,                                                     Remaining Assets
                                                                   and Other Costs)

Initial Projected Date Of Final Report (TFR):      08/30/2021                                               /s/ DOUGLAS S. ELLMANN
Current Projected Date Of Final Report (TFR):      08/30/2021                                               DOUGLAS S. ELLMANN




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